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                                       United States District Court
                                        Western District of Texas
                                                 Austin
                                           Deficiency Notice


To:           Durfee, Laura Jane
From:         Court Operations Department, Western District of Texas
Date:         Monday, June 11, 2018
Re:           01:18-CV-00295-LY / Doc # 25 / Filed On: 06/11/2018 11:38 AM CST


Pursuant to the Administrative Policies and Procedures for Electronic Filing in
Civil and Criminal Cases, the following pleading has been filed. However, it
is deficient in the area(s) checked below. Please correct the
deficiency(ies), as noted below, and re-file document IMMEDIATELY.
When re-filing document, other than a motion, please ensure you add
‘corrected’ to the docket text. If the document you are re-filing is a
motion, select ‘corrected’ from the drop-down list.

If an erroneous filing results in failure to meet a deadline, you will need to seek
relief, for any default, from the presiding judge.
(1) Other
   Remarks: Pursuant to the Administrative Policies and Procedures, Proposed Orders are Required when a
Response to a Motion is filed. DO NOT RE-FILE the entire document. Please, file ONLY the Proposed Order. Use
the "ATTACHMENT" event from the menu and LINK the Proposed Order to your Response. In the Docket Text, type
"(Proposed Order)".
